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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

                                              )
GRANT F. SMITH,                               )
                                              )
                Plaintiff,                    )
                                              )
        v.                                    )       Case No. 15-cv-01431 (TSC)
                                              )
CENTRAL INTELLIGENCE AGENCY,                  )
                                              )
                Defendant.                    )
                                              )

                                  MEMORANDUM OPINION

        Plaintiff Grant F. Smith, proceeding pro se, challenges the withholding by Defendant

Central Intelligence Agency (“CIA”) of certain information in response to Plaintiff’s Freedom of

Information Act (“FOIA”) request. The CIA issued a Glomar response and withheld the

documents under FOIA Exemptions 1 and 3, 5 U.S.C. § 552(b), and then moved for summary

judgment. For the reasons set forth below, Defendant’s motion will be DENIED.

   I.         BACKGROUND

        Plaintiff is a public interest researcher and founder of the Institute for Research: Middle

Eastern Policy, Inc. (Compl. ¶ 4). On March 19, 2015, he filed a FOIA request with the CIA for

a copy of its intelligence budget, specifically, line items supporting Israel from 1990 through

2015. (Ex. 1; Compl. ¶ 1). Smith originally sought the information “for use in vital public

interest research into how nuclear weapons related know-how, material and technology have

been unlawfully diverted into Israeli entities conducting clandestine nuclear weapons-related

research and development.” (Compl. ¶ 4). On April 15, 2015, the CIA issued a Glomar




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response1 that it could neither confirm nor deny the existence or nonexistence of any responsive

documents, pursuant to FOIA Exemptions 1 and 3. (Id. ¶ 24). On May 5, Smith filed an

administrative appeal of the denial but the CIA failed to respond within 20 working days. (Ex. 3;

Compl. ¶¶ 27, 31). Smith ultimately filed a complaint in this court on September 2, 2015.

(Compl. ¶ 1).

    II.      LEGAL STANDARD

          Summary judgment is appropriate where the record shows there is no genuine issue of

material fact and the movant is entitled to judgment as a matter of law. See Fed. R. Civ. P. 56(a);

Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986); Waterhouse v. District of Columbia, 298

F.3d 989, 991 (D.C. Cir. 2002). “FOIA cases typically and appropriately are decided on motions

for summary judgment.” Georgacarakos v. FBI, 908 F. Supp. 2d 176, 180 (D.D.C. 2012)

(citation omitted). The district court conducts a de novo review of the government’s decision to

withhold requested documents under any of FOIA’s specific statutory exemptions. See 5 U.S.C.

§ 552(a)(4)(B). The burden is on the government agency to show that nondisclosed, requested

material falls within a stated exemption. See Petroleum Info. Corp. v. U.S. Dep’t of Interior, 976

F.2d 1429, 1433 (D.C. Cir. 1992) (citing 5 U.S.C. § 552(a)(4)(B)). In cases concerning the

applicability of exemptions and the adequacy of an agency’s search efforts, summary judgment

may be based solely on information provided in the agency’s supporting declarations. See, e.g.,




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  A Glomar response is “[a] response to a FOIA request, in which an agency states that it can
‘neither confirm nor deny’ the existence of responsive records, [named] after a case concerning a
FOIA request for records relating to an underwater sea craft called the ‘Glomar Explorer.’”
Nation Magazine, Wash. Bureau v. U.S. Customs Serv., 71 F.3d 885, 896 n.2 (D.C. Cir. 1995)
(citing Phillippi v. CIA, 546 F.2d 1009 (D.C. Cir. 1976)).



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ACLU v. U.S. Dep’t of Def., 628 F.3d 612, 619 (D.C. Cir. 2011); Students Against Genocide v.

Dep’t of State, 257 F.3d 828, 838 (D.C. Cir. 2001). In ACLU, the D.C. Circuit wrote:

          If an agency’s affidavit describes the justifications for withholding the information with
          specific detail, demonstrates that the information withheld logically falls within the
          claimed exemption, and is not contradicted by contrary evidence in the record or by
          evidence of the agency’s bad faith, then summary judgment is warranted on the basis of
          the affidavit alone.

ACLU, 628 F.3d at 619. “Ultimately, an agency’s justification for invoking a FOIA exemption is

sufficient if it appears ‘logical’ or ‘plausible.’” Id. (quoting Larson v. Dep’t of State, 565 F.3d

857, 862 (D.C. Cir. 2009)) (internal quotation marks omitted). However, a motion for summary

judgment should be granted in favor of the FOIA requester where “an agency seeks to protect

material which, even on the agency’s version of the facts, falls outside the proffered exemption.”

Coldiron v. U.S. Dep’t of Justice, 310 F. Supp. 2d 44, 48 (D.D.C. 2004) (internal quotation

marks omitted) (quoting Petroleum Info. Corp. v. U.S. Dep’t of Interior, 976 F.2d 1429, 1433

(D.C. Cir. 1992)).

   III.      ANALYSIS

          A Glomar response permits an agency to “refuse to confirm the existence of records

where to answer the FOIA inquiry would cause harm cognizable under a[] FOIA exemption.”

Wolf v. CIA, 473 F.3d 370, 374 (D.C. Cir. 2007) (quoting Gardels v. CIA, 689 F.2d 1100, 1103

(D.C. Cir. 1982)). Nevertheless, a “plaintiff can overcome a Glomar response by showing that

the agency has already disclosed the fact of the existence (or nonexistence) of responsive

records” within the public domain. ACLU v. CIA, 710 F.3d 422, 427 (D.C. Cir. 2013). If an

agency has “officially acknowledged the existence of the record, the agency can no longer use a

Glomar response.” Moore v. CIA, 666 F.3d 1330, 1333 (D.C. Cir. 2011). This Circuit has

clarified that in the Glomar context, it is the “existence vel non of any records responsive to a



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FOIA request,” rather than the content of the records, that is the focus of the inquiry. ACLU, 710

F.3d at 427.

       A court’s rejection of an agency’s Glomar response does not mandate subsequent

disclosure of the records themselves, but requires the agency to process the records in the usual

manner required by FOIA; the agency must inform the requester of the number of records and

either release the records or justify its withholding pursuant to FOIA’s exemptions. See ACLU v.

CIA, 109 F. Supp. 3d 220, 225 (D.D.C. 2015) (after remand in which D.C. Circuit held Glomar

response inappropriate, district court upheld CIA’s release of one redacted memorandum,

withholding of eleven other memoranda, and withholding of thousands of classified intelligence

products that constituted records responsive to ACLU’s request).

       In order to rebut a Glomar response, the requester must point to an official prior

disclosure that “establishes the existence (or not) of records responsive to the FOIA request.”

Wolf, 473 F.3d at 379. The law concerning how to overcome an agency Glomar response arose

out of the “official acknowledgment” exception to FOIA’s exemptions, which required the

requester to meet three stringent criteria: (1) “the information requested must be as specific as

the information previously released,” (2) “the information requested must match the information

previously disclosed,” and (3) “the information requested must already have been made public

through an official and documented disclosure.” Id. at 378 (quoting Fitzgibbon v. CIA, 911 F.2d

755, 765 (D.C. Cir. 1990)). However, the inquiry is not identical. The Wolf court, which

addressed the official acknowledgment standard in the Glomar context for the first time,

explained that where the official acknowledgment or prior disclosure demonstrates the existence

of the records the requester seeks, “the prior disclosure necessarily matches both the information

at issue—the existence of records—and the specific request for that information.” Id. at 379.



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Fitzgibbon’s matching and specificity criteria, then, are not applicable in the Glomar context; in

such cases, the court must analyze only whether the prior disclosure acknowledges the existence

of the records sought.

       Plaintiff contends a Glomar response is inappropriate here, since two public statements

concerning intelligence budgets constitute public acknowledgment of the existence of the records

he seeks. First, he points to former Director of Central Intelligence John Deutch’s 1996

Congressional testimony that “disclosure of the annual amount appropriated for intelligence

purposes will inform the public and not, in itself, harm intelligence activities.” (Compl. ¶ 5).

Although Plaintiff has not provided any citation for the quotation, the court will assume its truth

for purposes of summary judgment. Even assuming the purported testimony exists, the court

finds it does not “match” the information Plaintiff seeks; Deutch did not refer to Israel or confirm

the existence of CIA budget line items supporting Israel or general CIA support for Israel.

Deutch’s statement, assuming he made it, does not meet the public-acknowledgement criteria

necessary to overcome the CIA’s Glomar response.

       Second, Plaintiff points to a statement by former President Barack Obama during an

address to American University in August 2015, in which he said, “the fact is, partly due to

American military and intelligence assistance, which my administration has provided at

unprecedented levels, Israel can defend itself against any conventional danger.” (Id. ¶ 26).2 The

CIA contends that President Obama’s statement does not reveal whether there are budget line

items reflecting intelligence support to Israel, or which agency provided such support. The court

disagrees, finding that the inferences available from President Obama’s statement are (1) that the




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 The text of the address is available at https://obamawhitehouse.archives.gov/the-press-
office/2015/08/05/remarks-president-iran-nuclear-deal.
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CIA provides intelligence support to Israel, and (2) that it therefore must have some means of

appropriating funds to do so, meaning that the budget line items must exist.

       The CIA claims that President Obama’s statement “was silent about whether [the]

intelligence assistance involved financial or budgetary support, as opposed to, for example,

intelligence sharing or other non-monetary assistance.” (Reply at 5-6). The CIA also argues that

President Obama’s statement did not mention line items, nor refer to “any specific intelligence

agency,” or reveal “what any such line-items, should they exist, are for, or their amounts,” and

that the statement was at a “higher level of generality” than Plaintiff’s request. (Id. at 6). The

court agrees that President Obama may have referred to non-monetary assistance, but even non-

monetary assistance has to be budgeted for. Information sharing, training, or anything else that

might constitute “intelligence assistance” other than direct financial support would cost the CIA

money to provide or perform. The CIA must have a budget line item for expenses that it incurs;

even if the budget is secret or classified or subject to FOIA’s exemptions, it must exist in order

for the CIA to operate. The court is not aware of, nor has the CIA pointed to, other agencies that

might provide intelligence support abroad. The CIA claims that “[c]onfirming the existence of

American ‘intelligence assistance’ to Israel is not the same as confirming (or denying) the

existence of specific line items in the intelligence budget supporting Israel,” (id. at 1), but the

court disagrees. The CIA’s reference to “the intelligence budget” refutes its suggestion that

some entity other than the CIA might be responsible for the noted “intelligence assistance,” as it

implicitly acknowledges that there is a definitive “intelligence budget” and it is the CIA’s.

       The court finds this case falls within the ambit of ACLU v. CIA, in which the D.C. Circuit

rejected the CIA’s Glomar response to a request for records in its possession pertaining to the

use of drones for targeted killings. 710 F.3d at 425. Noting that the information the CIA sought



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to protect was “whether the CIA itself was involved in, or interested in,” drone strikes, the CIA’s

refusal to acknowledge whether it had any records at all pertaining to drone strikes was

unwarranted, given official statements demonstrating “that the Agency ‘at least has an

intelligence interest’” in the strikes. Id. at 428-29. The Court found that official

acknowledgments included the President’s statement in response to a question about drones that

“we are able to pinpoint-strike an al Qaeda operative in a place where the capacities of th[e]

military in that country may not be able to get them;” then-Assistant to the President for

Homeland Security and Counterterrorism John Brennan’s statement that “ the United States

Government conducts targeted strikes against specific al-Qaida terrorists;” Brennan’s statement

that drone strikes are coordinated with “the full range of our intelligence capabilities;” then-

Director of the CIA Leon Panetta’s remarks concerning drone strikes that “these operations have

been very effective;” as well as Panetta’s comments on the “precision of targeted drone strikes,

the level of collateral damage they cause, and their usefulness in comparison to other weapons

and tactics.” Id. at 429-31. The statements made it “neither ‘logical’ nor ‘plausible’ to maintain

that the [CIA] does not have any documents relating to drones.” Id. at 431.

        Similarly, in this case, it is neither “neither logical nor plausible” that the CIA does not

have budget line items related to intelligence assistance for Israel. The CIA’s citations to Moore,

666 F.3d 1330; ACLU v. U.S. Dep’t of Defense, 628 F.3d 612, 621 (D.C. Cir. 2011); and ACLU

v. CIA, 109 F. Supp. 3d at 242 are inapposite; those cases involve the official acknowledgment

standard as applied to FOIA exemptions generally. The court finds that in the Glomar context,

President Obama’s statement is sufficient to acknowledge the existence of the records sought.

The match between Plaintiff’s request and President Obama’s statement, although the statement

did not consist of the specific words “CIA” or “budget line items,” is as close as the match in



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ACLU v. CIA. The court distinguishes this case from Competitive Enterprises Institute v. NSA,

also cited by the CIA, where a district court found the official acknowledgement that the NSA

has telephony metadata did not confirm or deny the existence of telephone, email, or text

message metadata about specific individuals or subgroups of people. 78 F. Supp. 3d 45, 57-58

(D.D.C. 2015). In that case, the NSA’s acknowledgment that it possessed metadata did not

confirm that it possessed metadata about every single individual with a cell phone in the United

States, nor email or text message data at all. Here however, President Obama’s statement about

United States intelligence assistance to Israel does confirm that the CIA has items in its budget

pertaining to assistance to Israel.

          Because the court finds the CIA’s Glomar response unwarranted because of President

Obama’s statement, which constituted an official acknowledgement of the existence of the

records sought, it will not reach whether, absent the official acknowledgment, Exemptions 1 and

3 would properly justify a Glomar response.

    IV.      CONCLUSION

          For the foregoing reasons, Defendant’s Motion for Summary Judgment will be DENIED.

A corresponding order will issue separately.



Dated: March 30, 2017

                                               Tanya S. Chutkan
                                               TANYA S. CHUTKAN
                                               United States District Judge




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